Case 2:17-cr-14053-KAM Document 25 Entered on FLSD Docket 09/27/2017 Page 1 of 2



                            UN ITED STA TES D ISTRICT C OU RT
                            SOU TH ERN D ISTRICT O F FLO RIDA
                CASE NO.17-l4053-CR-MARRA (M ARTINEZ)/MAYNARD

 UN ITED STA TES OF AM ERICA

        Plaintiff,


 CARL LA W REN CE CO BB,

        D efendant.


       ORDER ADOPTING M AGISTRATE'S REPO RT AND RECO M M ENDATION
                      O N D EFEN D AN T'S M O TIO N T O SUPPR ESS

       TH IS CA U SE cam e before the Courtupon D efendant'sM otion to Suppress

 (ECF No.19j,filed on September5,2017.
       TH E M ATTER w asreferred to U nited StatesM agistrate Judge Shaniek M .

 M aynard,and accordingly,theM agistrate Judge review ed them otion,the governm ent's

 response,andthetranscript.A ReportandRecommendation (ECF No.22qwasfiled on
 Septem ber21,2017,recom m ending thatDefendant'sM otion to Suppress Illegally

 Obtained Evidence(ECF No.19jbeGranted.
       Thepartieswereaffordedtheopportunityto filewritten objectionsifany,five(5)
 calendardaysfrom thedateofthereport.Therecord revealsthatno objectionswere
 tiled. Aftera#c novo review ofthe Record and M agistrate M aynard'sw ell-reasoned
 Reportand Recom m endation,itishereby:
       O R DERED A ND AD JU DG ED thatU nited StatesM agistrate Judge Shaniek M .
 M aynard'sReportand Recomm endation (ECF No.221ishereby ADOPTED AND
 A FFIR M ED in itsentirety.
Case 2:17-cr-14053-KAM Document 25 Entered on FLSD Docket 09/27/2017 Page 2 of 2



 Defendant'sM otion to SuppressIllegally Obtained Evidence (ECF No.191is
 G R AN TED .
       DONEAND ORDERED inChambersatMiami,Florida,thisD/dayof
 Septem ber,2017.


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                                              JO SE E. RT1 Z
                                                            .


                                              UN ITE      A TES D 1S RICT JU DGE


 Copiesprovided to:
 Hon.Judge M arra
 Hon.M agistrate Judge M aynard
 Al1CounselOfRecord
